                 IN THE DISTRICT COURT OF THE UNITED STATES
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                             CHARLOTTE DIVISION
                         CIVIL ACTION NO. 3:05CR104-W


UNITED STATES OF AMERICA,                              )
                                                       )
                                                       )
           v.                                          )              ORDER
                                                       )
GABRIEL ROMERO,                                        )
                                                       )
                         Defendant.                    )
__________________________________________________)



       THIS MATTER is before the Court on the “Application for Admission ... Pro Hac Vice”

(document #568) of defense counsel Santiago E. Juarez.         For the reasons set forth therein, the

Motion will be GRANTED.

       The Clerk is directed to send copies of this Order to counsel for the parties, including but not

limited to moving counsel; and to the Honorable Frank D. Whitney.

       SO ORDERED.

                                                       Signed: May 6, 2008




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